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                                                                                             UNITED STATES DISTRICT COURT
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                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                         15   LISA M. MOORE, individually and on                     Case No.:
                                                              behalf of all others similarly situated,
                                                         16
                                                                                Plaintiff,                           CLASS ACTION COMPLAINT
                                                         17
                                                                       v.
                                                         18
                                                              GLAXOSMITHKLINE CONSUMER
                                                         19   HEALTHCARE HOLDINGS (US) LLC;
                                                              PFIZER INC,
                                                         20
                                                                                Defendants.                          JURY TRIAL DEMANDED
                                                         21

                                                         22

                                                         23             Plaintiff Lisa Moore (“Plaintiff”), individually and on behalf of all others

                                                         24    similarly situated, as more fully described herein (the “Class” and “Class

                                                         25    Members”), brings this class action against Defendants GlaxoSmithKline Consumer

                                                         26    Healthcare Holdings (US) LLC (“GSK”) and Pfizer Inc. (“Pfizer”) (collectively,

                                                         27    “Defendants”), and alleges the following based upon information and belief, unless

                                                         28    otherwise expressly stated as based upon personal knowledge:

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                                                          1                                            NATURE OF THE ACTION
                                                          2             1.      Synopsis. In an effort to increase profits and to gain an unfair advantage
                                                          3    over their lawfully acting competitors, Defendants falsely and misleadingly label
                                                          4    certain of their ChapStick products with the following claims: “100% Natural,”
                                                          5    “Natural,” “Naturally Sourced Ingredients,” and/or “100% Naturally Sourced
                                                          6    Ingredients” (hereinafter, “Natural Representations” or “False Advertising
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                                                          1    Claims”). Contrary to the Products’ Natural Representations, as explained in detail
                                                          2    below, the Products actually contain numerous non-natural, synthetic, artificial,
                                                          3    and/or highly processed ingredients. Through falsely, misleadingly, and deceptively
                                                          4    labeling the Products, Defendants sought to take advantage of consumers’ desire for
                                                          5    truly natural products. Yet Defendants have done so at the expense of unwitting
                                                          6    consumers, as well as Defendants lawfully acting competitors, over whom
                                                          7    Defendants maintain an unfair competitive advantage.
                                                          8             2.      Products. The purported “Natural” ChapStick products at issue are: (1)
                                                          9    ChapStick 100% Natural Lip Butter, which comes in four scents 1 (see Exhibit “1”
                                                         10    [Product Images]); (2) ChapStick Total Hydration 100% Natural Lip Balm, which
                                                         11    comes in four scents 2 (see Exhibit “2” [Product Images]); (3) ChapStick Total
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                                                         12    Hydration Essential Oils Lip Balm, which comes in five scented-variations 3 (see
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                                                         13    Exhibit “3” [Product Images]); (4) ChapStick Total Hydration Moisture + Tint Lip
                                                         14    Balm, which comes in eight shades4 (see Exhibit “4” [Product Images]); (5) Total
                                                         15    Hydration Moisture + Tint SPF 15 Lip Balm, which comes in three scents 5 (see
                                                         16    Exhibit “5” [Product Images]); and (6) ChapStick Total Hydration Natural Lip
                                                         17    Scrub, which comes in two scents 6 (see Exhibit “6” [Product Images]) (collectively,
                                                         18    the “Products”).
                                                         19    1
                                                                 The 100% Natural Lip Butter comes in the following scents: (a) Green Tea Mint,
                                                         20    (b) Pink Grapefruit, (c) Sweet Papaya, and (d) Cucumber Pear.
                                                               2
                                                         21
                                                                 The Total Hydration 100% Natural Lip Balm comes in the following scents: (a)
                                                               Eucalyptus Mint, (b) Fresh Citrus, (c) Honey Blossom, and (d) Soothing Vanilla.
                                                         22    3
                                                                 The Total Hydration Essential Oils Lip Balm comes in the following variations:
                                                         23
                                                               (a) Chill (Hemp Seed), (b) Energy (Grapefruit and Lime), (c) Happy (Orange and
                                                               Lemon), (d) Peace (Rosemary and Peppermint), and (e) Relax (Lavender and
                                                         24    Chamomile).
                                                               4
                                                         25      The Total Hydration Moisture + Tint Lip Balm comes in the following shades: (a)
                                                               Coral Blush, (b) Flaunt It Fuchsia, (c) Hello Bordeaux, (d) Merlot, (e) Sunset Nude,
                                                         26    (f) Rose Petal, (g) Pink Nude, and (h) Warm Nude.
                                                               5
                                                         27      The Total Hydration Moisture and Tint SPF 15 Lip Balm comes in the following
                                                               shades: (a) Peachy Keen, (b) Pretty in Pink, and (c) Very Berry.
                                                         28    6
                                                                 The Total Hydration Lib Scrub comes in the following scents: (a) Fresh
                                                               Peppermint and (b) Sugar Plum.
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                                                          1             3.      Primary Objective. As a result, Plaintiff brings this action individually
                                                          2    and on behalf of those similarly situated to represent a National Class and a California
                                                          3    Class (defined infra). Plaintiff seeks injunctive relief to stop Defendants’ unlawful
                                                          4    labeling and advertising of the Products as Plaintiff’s primary litigation objective is
                                                          5    to enjoin Defendants’ unlawful labeling practices for the National Class and
                                                          6    California Class.
                                                          7                                               JURISDICTION
                                                          8             4.      This Court has original jurisdiction over this action pursuant to the Class
                                                          9    Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class
                                                         10    consists of 100 or more members; the amount in controversy exceeds $5,000,000,
                                                         11    exclusive of costs and interest; and minimal diversity exists. This Court also has
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                                                         12    supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
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                                                         13                                                   VENUE
                                                         14             5.      Venue is proper in this District under 28 U.S.C. § 1391 because a
                                                         15    substantial part of the events and omissions giving rise to Plaintiff’s claims occurred
                                                         16    in this District. Plaintiff purchased the Products in this District, and Defendants have
                                                         17    deliberately marketed, advertised, and sold the Products within this District.
                                                         18                                                  PARTIES
                                                         19    A.      Plaintiff
                                                         20             6.      Plaintiff Moore. The following is alleged based upon personal
                                                         21    knowledge: (1) Plaintiff Lisa Moore (“Plaintiff”) was previously a resident of San
                                                         22    Francisco County, California, before moving to Los Angeles County, California, in
                                                         23    approximately February 2020. (2) Plaintiff routinely purchased the ChapStick Total
                                                         24    Hydration 100% Natural Lip Balm in the Eucalyptus Mint and Fresh Citrus scents
                                                         25    and the Total Hydration Essential Oils Lip Balm in the Happy scent, each for
                                                         26    approximately $4 to $5, at CVS and Walgreens stores in or around San Francisco,
                                                         27    approximately once per every 2 months, for approximately 2-3 years, until
                                                         28    approximately December 2019 -February 2020. (3) In making the purchase, Plaintiff
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                                                          1    relied on the Natural Representations stated on the Products’ label and packaging. (4)
                                                          2    If Plaintiff had known that the Products contained ingredients that are non-natural,
                                                          3    synthetic, artificial, and/or highly processed, then Plaintiff would not have purchased
                                                          4    the Products. (5) Plaintiff continues to see the Products available for purchase and
                                                          5    desires to purchase them again if the Natural Representations were in fact true—i.e.,
                                                          6    if the Products truthfully did not contain any non-natural, synthetic, artificial, and/or
                                                          7    highly processed ingredients. (6) Plaintiff is, and continues to be, unable to rely on
                                                          8    the “truth” of the Products’ Natural Representations. (7) Plaintiff does not know the
                                                          9    meaning or the import of the Products’ ingredients—specifically, the non-natural,
                                                         10    synthetic, artificial, and highly processed ingredients identified infra. Based on
                                                         11    information and belief, the labeling of the Products purchased by Plaintiff are typical
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                                                         12    of the labeling of the Products purchased by members of the class.
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                                                         13             7.      Plaintiff’s Likely Future Harm. If the Products’ ingredients were
                                                         14    actually natural, as labeled and advertised, Plaintiff would purchase the Products in
                                                         15    the future. Since Plaintiffs would like to purchase the Products again to obtain lip
                                                         16    balm and moisturizing products that, as advertised, are truly natural and therefore do
                                                         17    not contain non-natural, synthetic, artificial, and/or highly processed ingredients,
                                                         18    Plaintiff would purchase them again in the future—despite the fact that they were
                                                         19    once marred by false advertising or labeling—as Plaintiff would reasonably, but
                                                         20    incorrectly, assume the Products were improved (no longer contain non-natural,
                                                         21    synthetic, artificial, and/or highly processed ingredients). In that regard, Plaintiff is
                                                         22    an average consumer who is not sophisticated in the chemistry, manufacturing, and
                                                         23    formulation of cosmetic products, such as the Products.          Neither Plaintiff, nor
                                                         24    reasonable consumers, have the requisite knowledge to accurately differentiate
                                                         25    between cosmetic ingredients that are “natural” and those that are “synthetic”—
                                                         26    particularly those non-natural ingredients identified infra. Accordingly, Plaintiff is at
                                                         27    risk of reasonably, but incorrectly, assuming that Defendants fixed the formulation of
                                                         28    the Products such that Plaintiff may buy them again, believing they were no longer
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                                                          1    falsely advertised. Plaintiff is, therefore, currently and in the future deprived of the
                                                          2    ability to rely on the Natural Representations.
                                                          3    B.      Defendants
                                                          4             8.      Defendant Pfizer.          Defendant Pfizer Inc. (“Pfizer”) is a Delaware
                                                          5    corporation with is principal place of business in New York, New York, and has been
                                                          6    doing business in the State of California during all relevant times. Directly and
                                                          7    through its agents, Pfizer has substantial contacts with, and receives substantial
                                                          8    benefits and income from, the State of California. At all relevant times, Pfizer has
                                                          9    been one of the owners, manufacturers, and distributors of the Products, and one of
                                                         10    the companies that created, approved, authorized, and/or ratified the false,
                                                         11    misleading, and deceptive labeling for the Products, including the False Advertising
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                                                         12    Claims.
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                                                         13             9.      Defendant GSK. Defendant GlaxoSmithKline Consumer Healthcare
                                                         14    Holdings (US) LLC (“GSK”) is a Delaware corporation with its principal place of
                                                         15    business in Warren, New Jersey, and has been doing business in the State of
                                                         16    California during all relevant times. Directly and through its agents, GSK has
                                                         17    substantial contacts with, and receives substantial benefits and income from, the State
                                                         18    of California. Since approximately mid-2019, GSK has been one of the owners,
                                                         19    manufacturers, and distributors of the Products, and one of the companies that
                                                         20    created, approved, authorized, and/or ratified the false, misleading, and deceptive
                                                         21    labeling for the Products, including the False Advertising Claims.
                                                         22             10. “Defendants.” The term “Defendants,” as used herein, relates to each
                                                         23    individual Defendant during the time period it was responsible for manufacturing,
                                                         24    distributing, advertising, marketing, labeling, and/or selling the Products.
                                                         25             11. Joint Venture. In or around mid-2019, GSK and Pfizer’s consumer
                                                         26    healthcare businesses were combined into one joint venture, named GSK Consumer
                                                         27    Healthcare,         under       which    Defendants    have   jointly   advertised,   marketed,
                                                         28    manufactured, and sold the Products.
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                                                          1             12. Conspiracy. Defendants acted in concert under a common scheme and
                                                          2    aided and abetted one another in the decision to manufacture, label, advertise, market,
                                                          3    package, and sell the Products in a false, deceptive and misleading manner.
                                                          4             13. Respondeat Superior.               Defendants and their agents manufactured,
                                                          5    advertised, marketed, and sold the Products at issue in this jurisdiction and in this
                                                          6    judicial district. The unfair, unlawful, deceptive, and misleading False Advertising
                                                          7    Claims on the Products were prepared, authorized, ratified, and/or approved by
                                                          8    Defendants and their agents, and, accordingly, disseminated throughout the State of
                                                          9    California and the nation by Defendants and their agents in order to deceive and
                                                         10    mislead consumers into purchasing the Products.
                                                         11                                            FACTUAL ALLEGATIONS
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                                                         12    A.      Background
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                                                         13             14.      In recent years, consumers have poured billions of dollars into the natural
                                                         14    cosmetics market. The global market in 2018 for natural cosmetics was estimated to
                                                         15    have a revenue of $10.31 billion dollars and increases each year, with an estimated
                                                         16    growth to $48.04 billion by 2025.7 In fact, consumers tend to purchase natural
                                                         17    cosmetics more often than not, showing the growing importance of the natural
                                                         18    cosmetic market. 8 Consumers value natural products for numerous reasons, including
                                                         19    perceived benefits of avoiding diseases, attaining health and wellness, helping the
                                                         20    environment, assisting local farmers, assisting factory workers who would otherwise
                                                         21    be exposed to synthetic and hazardous substances, and financially supporting the
                                                         22    companies that share these values. In response to consumers’ desire for natural
                                                         23

                                                         24    7
                                                                 Natural Cosmetics Market Worth $48.04 Billion by 2025, BLOOMBERG, June 11,
                                                         25    2019, https://www.bloomberg.com/press-releases/2019-06-11/natural-cosmetics-
                                                               market-worth-48-04-billion-by-2025-cagr-5-01-grand-view-research-inc (last
                                                         26    visited December 14, 2020).
                                                               8
                                                         27      Global Market Value For Natural and Organic Cosmetics And Personal Care
                                                               From 2018 To 2027, STATISTA, Sept. 24, 2020,
                                                         28    https://www.statista.com/statistics/673641/global-market-value-for-natural-
                                                               cosmetics/ (last visited December 14, 2020).
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                                                          1    products, many companies, including Defendants, have scrambled to manufacture,
                                                          2    market, and sell purportedly “natural” products in an effort to gain market share.
                                                          3    Unfortunately, rather than creating the natural products consumers desire, Defendants
                                                          4    have chosen instead to market the Products through deceptive labeling and
                                                          5    advertising in order to convince consumers the products are natural when, in reality,
                                                          6    they contain synthetic and artificial ingredients.
                                                          7             15. Governmental Regulatory Agencies’ and Standard Dictionary
                                                          8    Definitions:
                                                          9                     a. USDA. The United States Department of Agriculture (“USDA”),
                                                         10                         pursuant to 7 U.S.C. § 6502, defines the term “synthetic” fo r
                                                         11                         ag ri cultur al produc ts as “a substance that is formulated or
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                                                         12                         manufactured by a chemical process or by a process that chemically
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                                                         13                          changes a substance extracted from naturally occurring plant, animal,
                                                         14                          or mineral sources, except that such term shall not apply to substances
                                                         15                          created by naturally occurring biological processes.”
                                                         16                     b. Dictionary.          The Merriam-Webster standard dictionary defines
                                                         17                         “natural” as “existing in or produced by nature: not artificial,” and “not
                                                         18                         having any extra substances or chemicals added: not containing
                                                         19                         anything artificial.”9
                                                         20                     c. FTC.          The Federal Trade Commission (“FTC”) has cautioned
                                                         21                         “[m]arketers that are using terms such as natural must ensure that
                                                         22                         they can substantiate whatever claims they are conveying to
                                                         23                         reasonable consumers. If reasonable consumers could interpret a
                                                         24                         natural claim as representing that a product contains no artificial
                                                         25                         ingredients, then the marketer must be able to substantiate that fact.”
                                                         26                         Guides for the Use of Environmental Marketing Claims, 75 FR 63552-
                                                         27

                                                         28    9
                                                                Natural Definition, Merriam-Webster.com, 2011, available at https://www.merriam-
                                                               webster.com/dictionary/natural (last visited December 14, 2020).
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                                                          1                         01, 63586 (Oct. 15, 2010).
                                                          2             16. Accordingly, reasonable consumers, like Plaintiff, interpret the Natural
                                                          3    Representations as claims that the Products contain no non-natural, artificial, and/or
                                                          4    synthetic ingredients.
                                                          5    B.      The Products’ Misleading and Deceptive Labeling
                                                          6             17. Defendants manufacture, market, promote, advertise, label, package, and
                                                          7    sell a variety of lip moisturizing care Products under the “Chapstick” brand name. In
                                                          8    an effort to convince consumers that their products are natural and do not contain any
                                                          9    non-natural, non-natural, synthetic, artificial, and/or highly processed ingredients,
                                                         10    Defendants prominently and uniformly label the Products with the Natural
                                                         11    Representations on the front of the Products, including the following: “100%
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                                                         12    Natural,” “Natural,” “Naturally Sourced Ingredients,” and/or “100% Naturally
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                                                         13    Sourced Ingredients.” As set forth in the product images attached hereto as Exhibits
                                                         14    1-6 and the following exemplars, the Natural Representations are one of a few select
                                                         15    claims that Defendants deliberately emphasize on the front labels in order to represent
                                                         16    the Products as being all-natural and free of non-natural, synthetic, artificial, and/or
                                                         17    highly processed ingredients.
                                                         18    ///
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                                                          1             18. ChapStick 100% Natural Lip Butter (Pink Grapefruit) Product Image:
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                                                         28    See also Exhibit 1 [Product Images].
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                                                          1             19. ChapStick Total Hydration 100% Natural Lip Balm (Eucalyptus
                                                          2    Mint) Product Image:
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                                                         28    See also Exhibit 2 [Product Image].
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                                                          1             20. ChapStick Total Hydration Essential Oils Lip Balm (Happy) Product
                                                          2    Image:
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                                                         28    See also Exhibit 3 [Product Images].
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                                                          1             21. ChapStick Total Hydration Moisture + Tint Lip Balm (Sunset Nude)
                                                          2    Product Image:
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                                                         28    See also Exhibit 4 [Product Images].
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                                                          1             22. ChapStick Total Hydration Moisture + Tint SPF 15 Lip Balm (Pretty
                                                          2    in Pink) Product Image:
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                                                         28    See also Exhibit 5 [Product Images].
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                                                          1             23. ChapStick Total Hydration Natural Lip Scrub (Fresh Peppermint)
                                                          2    Product Image:
                                                          3

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                                                         28    See also Exhibit 6 [Product Images].
                                                                                                                  16
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                                                          1             24. Non-Natural Ingredients. Despite Defendants labeling the Products as
                                                          2    natural, the Products actually contain numerous non-natural, synthetic, and/or
                                                          3    artificial ingredients, including the following, in varying combinations:
                                                          4
                                                                                (a)      Caprylic/capric      triglycerides:    an    artificial  compound
                                                          5                              manufactured by hydrolyzing coconut oil, removing the free
                                                                                         glycerin, and separating the medium chain length (MCL) fatty
                                                          6
                                                                                         acids by fractional distillation. The acids are then blended in the
                                                          7                              proper ratio and re-esterified with glycerin. This compound is
                                                                                         classified as a skin and eye irritant;
                                                          8

                                                          9                     (b)      Capryloyl glycerin/sebacic acid copolymer: are synthetically
                                                                                         produced from capryloyl glycerin and sebacic acid monomers and
                                                         10
                                                                                         function as polymers and film-forming agents as well as
                                                         11                              replacements for silicones in cosmetic formulas;
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                                                                                (c)      Carmine: is a dye that is derived from mixing crushed cochineal
                                                         13                              bugs with an acidic alcohol solution. This dye can cause severe
                                                                                         allergic reactions and is no longer classified as a “natural dye”;
                                                         14

                                                         15                     (d)      Citric Acid: synthetically made by the fermentation of glucose;
                                                         16
                                                                                (e)      Flavor: flavors are additives designed to mimic the taste of natural
                                                         17                              ingredients. They are a cheap way for manufacturers to make
                                                                                         something taste natural, without using the actual ingredients, e.g.,
                                                         18
                                                                                         vanilla flavoring instead of natural vanilla;
                                                         19
                                                                                (f)      Fragrance: synthetic compounds composed of petroleum by-
                                                         20
                                                                                         products such as benzene derivatives, aldehydes, toluene, and other
                                                         21                              known toxic chemicals;
                                                         22
                                                                                (g)      Glyceryl stearate: a synthetic emollient made by reacting glycerin
                                                         23                              with stearic acid;
                                                         24
                                                                                (h)      Hydrogenated soybean oil and partially hydrogenated soybean
                                                         25                              oil: highly-processed forms of soybean oil that have been
                                                         26
                                                                                         chemically manufactured through a process called hydrogenation
                                                                                         to convert polyunsaturated fatty acids to monounsaturated and
                                                         27                              saturated fatty acids, resulting in the artificial variety of trans fat;
                                                         28

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                                                          1                     (i)      Iron oxides: are synthetic chemical compounds composed of iron
                                                                                         and oxygen;
                                                          2

                                                          3                     (j)      Octyldodecanol: a long-chain synthetic alcohol chemically
                                                                                         produced from natural fats and oils by reducing the fatty acid
                                                          4                              grouping to the hydroxyl function;
                                                          5
                                                                                (k)      Tocopherols: federal regulations classify as synthetic substances,
                                                          6                              even when extracted from natural oils, which is done through
                                                          7                              molecular distillation, solvent extraction, or absorption
                                                                                         chromatography;
                                                          8

                                                          9                     (l)      Tocopheryl acetate: a synthetic, highly processed form of Vitamin
                                                                                         E manufactured using acetic acid.
                                                         10
                                                                        25. ChapStick 100% Natural Lip Butter. The ChapStick 100% Natural
                                                         11
                                                               Lip Butter Products contain, in each of the scents, the following non-natural
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                                                               ingredients: (1) glyceryl stearate, (2) octyldodecanol and (3) tocopheryl acetate.
                                                         13
                                                               Additionally, the Green Tea Mint scent, the Sweet Papaya scent, and the Cucumber
                                                         14
                                                               Pear scent contains: (4) caprylic/capric triglyceride. Lastly, the pink grapefruit scent
                                                         15
                                                               and the sweet papaya scent contains: (5) flavor, (6) hydrogenated soybean oil, and (7)
                                                         16
                                                               tocopherol. See Exhibit 1 [Product Ingredients].
                                                         17
                                                                        26. Chapstick Total Hydration 100% Natural Lip Care. The ChapStick
                                                         18
                                                               Total Hydration 100% Natural Lip Care Products contain, in each of its scents, the
                                                         19
                                                               following non-natural ingredients: (1) caprylic/capric triglyceride, (2) flavor, (3)
                                                         20
                                                               octyldodecanol, (4) tocopherol, (5) tocopheryl acetate, and (6) glyceryl stearate.
                                                         21
                                                               Additionally, the Eucalyptus Mint and the Fresh Citrus scents contain: (7)
                                                         22
                                                               hydrogenated soybean oil. Lastly, the Soothing Vanilla scent contains: (8) partially
                                                         23
                                                               hydrogenated soybean oil. See Exhibit 2 [Product Ingredients].
                                                         24
                                                                        27. ChapStick Total Hydration Essential Oils Lip Balm. The ChapStick
                                                         25
                                                               Total Hydration Essential Oils Lip Balm Products contain, in each of its scents, the
                                                         26
                                                               following non-natural ingredients: (1) flavor, (2) glyceryl stearate, (3) hydrogenated
                                                         27
                                                               soybean oil, (4) tocopherol, and (5) tocopheryl acetate. Additionally the Chill, Happy,
                                                         28
                                                               and Peace scents contain: (6) caprylic/capric triglyceride. Lastly, the Chill, Energy,
                                                                                                                  18
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                                                          1    Happy, and Peace scents contain: (7) octyldodecanol. See Exhibit 3 [Product
                                                          2    Ingredients].
                                                          3             28. ChapStick Total Hydration Moisture + Tint Lip Balm. The ChapStick
                                                          4    Total Hydration Moisture + Ting Lip Balm Products contain, in each of its shades,
                                                          5    the following non-natural ingredients: (1) carmine, (2) glyceryl stearate, (3)
                                                          6    hydrogenated soybean oil, (4) octyldodecanol, (5) tocopherol, and (6) tocopheryl
                                                          7    acetate. Additionally, the Coral Blush, Rose Petal, Pink Nude, Flaunt It Fuchsia, Hello
                                                          8    Bordeaux, and the Sunset Nude shades contain: (7) caprylic/capric triglyceride. The
                                                          9    Coral Blush, Rose Petal, Pink Nude, Flaunt It Fuchsia, Hello Bordeaux, Merlot, and
                                                         10    Sunset Nude shades contain: (8) flavor. Lastly, the Coral Blush, Rose Petal, Pink
                                                         11    Nude, Merlot, Sunset Nude, and Warm Nude shades contain: (9) iron oxides. See
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                                                         12    Exhibit 4 [Product Ingredients].
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                                                         13             29. ChapStick Total Hydration Moisture + Tint SPF 15 Lip Balm. The
                                                         14    ChapStick Total Hydration Moisture + Tint SPF 15 Products contain, in each of its
                                                         15    scents, the following non-natural ingredients: (1) carmine, (2) fragrance, (3) iron
                                                         16    oxides, (4) tocopherol, and (5) tocopheryl acetate. See Exhibit 5 [Product
                                                         17    Ingredients].
                                                         18             30. ChapStick Total Hydration Natural Lip Scrub. The ChapStick Total
                                                         19    Hydration Natural Lip Scrub Products contain, each of its flavors, the following non-
                                                         20    natural ingredients: (1) capryloyl glycerin/sebacic acid copolymer, (2) citric acid, and
                                                         21    (3) tocopherol. Additionally, the Sugar Plum flavor contains: (4) caprylic/capric
                                                         22    triglyceride, (5) carmine, (6) flavor, and (7) iron oxides. See Exhibit 6 [Product
                                                         23    Ingredients].
                                                         24             31. The Natural Representations Are False, Misleading, and Deceptive.
                                                         25    Contrary to the Natural Representations, the Products are not natural because they
                                                         26    contain non-natural, synthetic, artificial, and/or highly processed ingredients. No
                                                         27    reasonable definition of “100% Natural,” “Natural,” “Naturally Sourced Ingredients,”
                                                         28    and “100% Naturally Sourced Ingredients” includes ingredients that are subjected to
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                                                          1    extensive, transformative processing before their inclusion in a product, regardless of
                                                          2    whether the ingredient may have been, at one time, truly “Natural.” Put differently,
                                                          3    it is entirely deceptive to label a product as being natural or made of naturally sourced
                                                          4    ingredients, if that product—like the Products at issue—was “formulated or
                                                          5    manufactured by a chemical process or by a process that chemically changes a
                                                          6    substance extracted from naturally occurring plant, animal, or mineral sources.” See
                                                          7    7 U.S.C. § 6502. Indeed, labeling the products with the Natural Representations when
                                                          8    they contain any non-natural, synthetic, artificial, and/or highly processed ingredients
                                                          9    is wholly misleading and deceptive. That is because the Natural Representations
                                                         10    causes reasonable consumers, including Plaintiff, to believe the Products do not
                                                         11    contain non-natural, synthetic, artificial, and/or highly processed ingredients.
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                                                         13    C.      Defendants Misled Plaintiff and Reasonable Consumers, Who Relied on
                                                                       the Material and False Advertising Claims to Their Detriment
                                                         14

                                                         15             32. Material. The False Advertising Claims were and are material to
                                                         16    reasonable consumers, including Plaintiff, in deciding to purchase the Products.
                                                         17             33. Reliance.             Plaintiff and reasonable consumers relied and rely on
                                                         18    Defendants’ False Advertising Claims in making the decision to purchase the
                                                         19    Products.
                                                         20             34. Consumers Lack Knowledge of Falsity. At the time Plaintiff and
                                                         21    reasonable consumers purchased the Products, they did not know, and had no reason
                                                         22    to know, that the Products’ False Advertising Claims on the label and packaging were,
                                                         23    in fact, false, misleading, deceptive, and unlawful as set forth herein.
                                                         24             35. Misrepresentation/Omission. The Natural Representations materially
                                                         25    misrepresented the Products as containing no non-natural, synthetic, artificial, and
                                                         26    highly processed ingredients, and Defendants failed to adequately inform reasonable
                                                         27    consumers, including Plaintiff, that the Products contained non-natural, synthetic,
                                                         28    artificial, and/or highly processed ingredients.
                                                                                                                  20
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                                                          1             36. Defendants’ Knowledge. Defendants knew, or should have known, that
                                                          2    the Natural Representations were false, misleading, deceptive, and unlawful, at the
                                                          3    time that they advertised the Products and intentionally and deliberately placed the
                                                          4    Natural Representations on the Products’ labeling and packaging.
                                                          5             37. Detriment.                 Plaintiff and reasonable consumers would not have
                                                          6    purchased the Products, or would have purchased the Products on different terms, if
                                                          7    they had known the truth—that the Natural Representations are false and the Products
                                                          8    contain non-natural, synthetic, artificial, and/or highly processed ingredients.
                                                          9    Accordingly, based on Defendants’ material misrepresentations and omissions,
                                                         10    reasonable consumers, including Plaintiff, purchased the Products to their detriment.
                                                         11    D.       The Products Are Substantially Similar
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                                                         12             38. As described supra, Plaintiff purchased the ChapStick Total Hydration
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                                                         13    100% Natural Lip Care (Eucalyptus Mint and Citrus) and ChapStick Total Hydration
                                                         14    Essential Oils Lip Balm (Happy) (collectively, the “Purchased Products”). The
                                                         15    additional products, ChapStick Total Hydration 100% Natural Lip Butter, ChapStick
                                                         16    Total Hydration Moisture + Tint Lip Balm, and Total Hydration Moisture + Tint SPF
                                                         17    15 Lip Balm, and ChapStick Total Hydration Natural Lip Scrub (“Unpurchased
                                                         18    Products”), are substantially similar to the Purchased Products.
                                                         19                     a. Defendants. All Products are manufactured, sold, marketed,
                                                         20                         advertised, labeled, and packaged by the Defendants.
                                                         21                     b. Brand. All Products are sold under the ChapStick brand name.
                                                         22                     c. Marketing Demographics. All Products are marketed directly to
                                                         23                         consumers for personal use.
                                                         24                     d. Purpose.            All Products are intended for the primary purpose of
                                                         25                         moisturizing lips.
                                                         26                     e. Application. All Products are applied in the same manner—directly
                                                         27                         onto lips.
                                                         28                     f. False Advertising Claims. All Products contain the same Natural
                                                                                                                    21
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                                                          1                         Representations on the Products’ labeling and packaging. In addition,
                                                          2                         all Products prominently display the Natural Representations on the
                                                          3                         front label in order to focus the consumer’s attention on the Natural
                                                          4                         Representations.
                                                          5                     g. Key Ingredients. All Products contain a combination of the same
                                                          6                         non-natural, artificial, synthetic, and highly processed ingredients. In
                                                          7                         particular, the Purchased Products contain non-natural ingredients that
                                                          8                         are found in the Unpurchased Products.
                                                          9                     h. Misleading Effect. The misleading effect of the Products’ labels is
                                                         10                         the same for all Products.
                                                         11                                            CLASS ACTION ALLEGATIONS
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                                                         12             39. Class Definition. Plaintiff brings this action as a class action pursuant to
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                                                         13    Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and all
                                                         14    others similarly situated, and as members of the Classes defined as follows:
                                                         15
                                                                                All residents of     the  United     States    who,    within
                                                         16                     the applicable statute of limitations periods, purchased the
                                                                                Products (“Nationwide Class”); and
                                                         17

                                                         18                     All residents of California who, within four years prior to the
                                                         19
                                                                                filing of this Complaint, purchased the Products (“California
                                                                                Subclass”).
                                                         20

                                                         21                     (“Nationwide Class” and “California Subclass,” collectively, the
                                                                                “Class”).
                                                         22

                                                         23             40. Class Definition Exclusions.                Excluded from the Class are: (i)
                                                         24    Defendants, their assigns, successors, and legal representatives; (ii) any entities in
                                                         25    which Defendants have controlling interests; (iii) federal, state, and/or local
                                                         26    governments, including, but not limited to, their departments, agencies, divisions,
                                                         27    bureaus, boards, sections, groups, counsels, and/or subdivisions; (iv) all persons
                                                         28    presently in bankruptcy proceedings or who obtained a bankruptcy discharge in the

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                                                          1    last three years; and (v) any judicial officer presiding over this matter and person
                                                          2    within the third degree of consanguinity to such judicial officer.
                                                          3             41. Reservation of Rights to Amend Class Definition. Plaintiff reserves
                                                          4    the right to amend or otherwise alter the class definitions presented to the Court at the
                                                          5    appropriate time in response to facts learned through discovery, legal arguments
                                                          6    advanced by Defendants, or otherwise.
                                                          7             42. Numerosity: Members of the Class are so numerous that joinder of all
                                                          8    members is impracticable. Upon information and belief, the Class consists of tens of
                                                          9    thousands of purchasers (if not more) dispersed throughout the United States.
                                                         10    Accordingly, it would be impracticable to join all members of the Class before the
                                                         11    Court.
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                                                         12             43. Common Question Predominate: There are numerous and substantial
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                                                         13    questions of law or fact common to all members of the Class that predominate over
                                                         14    any individual issues. Included within the common questions of law or fact are:
                                                         15
                                                                                a. Whether Defendants’ conduct constitutes an unfair method of
                                                         16                        competition, or unfair or deceptive act or practice, in violation of Civil
                                                                                   Code section 1750, et seq.;
                                                         17

                                                         18                     b. Whether Defendants used deceptive representations in connection
                                                                                   with the sale of the Products in violation of Civil Code section 1750,
                                                         19
                                                                                   et seq.;
                                                         20
                                                                                c. Whether Defendants represented that the Products have characteristics
                                                         21
                                                                                   or quantities that they do not have in violation of Civil Code section
                                                         22                        1750, et seq.;
                                                         23
                                                                                d. Whether Defendants advertised the Products with intent not to sell
                                                         24                        them as advertised in violation of Civil Code section 1750, et seq.;
                                                         25
                                                                                e. Whether Defendants labeling and advertising of the Products are
                                                         26                        untrue or misleading in violation of Business and Professions Code
                                                                                   section 17500, et seq.;
                                                         27

                                                         28                     f. Whether Defendants knew or by the exercise of reasonable care should
                                                                                   have known their labeling and advertising was and is untrue or
                                                                                                                  23
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                                                          1                         misleading in violation of Business and Professions Code section
                                                                                    17500, et seq.;
                                                          2

                                                          3                     g. Whether Defendants conduct is an unfair business practice within the
                                                                                   meaning of Business and Professions Code section 17200, et seq.;
                                                          4

                                                          5                     h. Whether Defendants conduct is a fraudulent business practice within
                                                                                   the meaning of Business and Professions Code section 17200, et seq.;
                                                          6

                                                          7                     i. Whether Defendants conduct is an unlawful business practice within
                                                                                   the meaning of Business and Professions Code section 17200, et seq.;
                                                          8

                                                          9                     j. Whether Defendants conduct constitutes breach of express warranty;

                                                         10                     k. Whether Plaintiff and the Class are entitled to injunctive relief;
                                                         11
                                                                                l. Whether Defendants were unjustly enriched by their unlawful
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                                                                                   conduct.
                                                         13             44. Typicality: Plaintiff’s claims are typical of the claims of the Class
                                                         14    Members she seeks to represent because Plaintiff, like the Class Members, purchased
                                                         15    Defendants’ misleading and deceptive Product. Defendants’ unlawful, unfair and/or
                                                         16    fraudulent actions concern the same business practices described herein irrespective
                                                         17    of where they occurred or were experienced. Plaintiff and the Class sustained similar
                                                         18    injuries arising out of Defendants’ conduct. Plaintiff’s and Class Members’ claims
                                                         19    arise from the same practices and course of conduct and are based on the same legal
                                                         20    theories.
                                                         21             45. Adequacy: Plaintiff is an adequate representative of the Class she seeks
                                                         22    to represent because her interests do not conflict with the interests of the Class
                                                         23    Members Plaintiff seeks to represent. Plaintiff will fairly and adequately protect Class
                                                         24    Members’ interests and has retained counsel experienced and competent in the
                                                         25    prosecution of complex class actions, including complex questions that arise in
                                                         26    consumer protection litigation.
                                                         27             46. Superiority and Substantial Benefit: A class action is superior to other
                                                         28    methods for the fair and efficient adjudication of this controversy, since individual
                                                                                                                  24
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                                                         1     joinder of all members of the Class is impracticable and no other group method of
                                                         2     adjudication of all claims asserted herein is more efficient and manageable for at least
                                                         3     the following reasons:
                                                         4
                                                                                a. The claims presented in this case predominate over any questions of
                                                         5                         law or fact, if any exist at all, affecting any individual member of the
                                                                                   Class;
                                                         6

                                                         7                      b. Absent a Class, the members of the Class will continue to suffer
                                                                                   damage and Defendants unlawful conduct will continue without
                                                         8
                                                                                   remedy while Defendants profit from and enjoys their ill-gotten gains;
                                                         9
                                                                                c. Given the size of individual Class Members’ claims, few, if any, Class
                                                         10
                                                                                   Members could afford to or would seek legal redress individually for
                                                         11                        the wrongs Defendants committed against them, and absent Class
                                                                                   Members have no substantial interest in individually controlling the
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                                                                                   prosecution of individual actions;
                                                         13
                                                                                d. When the liability of Defendants has been adjudicated, claims of all
                                                         14
                                                                                   members of the Class can be administered efficiently and/or
                                                         15                        determined uniformly by the Court; and
                                                         16
                                                                                e. This action presents no difficulty that would impede their management
                                                         17                        by the Court as a class action, which is the best available means by
                                                                                   which Plaintiff and Class Members can seek redress for the harm
                                                         18
                                                                                   caused to them by Defendants.
                                                         19
                                                                        47. Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                         20
                                                               the Class, the prosecution of separate actions by individual members would create a
                                                         21
                                                               risk of inconsistent or varying adjudications with respect to individual members of
                                                         22
                                                               the Class, which would establish incompatible standards of conduct for Defendant.
                                                         23
                                                                        48. Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                         24
                                                               action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as
                                                         25
                                                               Defendants have acted or refused to act on grounds generally applicable to the Class,
                                                         26
                                                               thereby making appropriate final injunctive or equitable relief with respect to the
                                                         27
                                                               Class as a whole.
                                                         28
                                                                        49. Manageability. Plaintiff and Plaintiff’s counsel are unaware of any
                                                                                                                  25
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                                                          1    difficulties that are likely to be encountered in the management of this action that
                                                          2    would preclude its maintenance as a class action.
                                                          3                                                 COUNT ONE
                                                          4                          Violation of the Unfair Competition Law (“UCL”)
                                                          5                   (California Business and Professions Code §§ 17200, et seq.)
                                                          6                                    (On Behalf of the California Subclass)
                                                          7             50. Plaintiff re-alleges and incorporates by reference the allegations
                                                          8    contained in the preceding paragraphs of this complaint, as though fully set forth
                                                          9    herein.
                                                         10             51. This cause of action is brought pursuant to Business and Professions Code
                                                         11    Section 17200, et seq., on behalf of Plaintiff and a California Subclass who purchased
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                                                         12    the Products within the applicable statute of limitations.
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                                                         13             52. Defendants, in their advertising and packaging of the Products, made
                                                         14    false and misleading statements and fraudulent omissions regarding the quality and
                                                         15    characteristics of the Products, specifically, labeling the Products with the Natural
                                                         16    Representations despite the Products containing numerous non-natural, synthetic,
                                                         17    and/or artificial ingredients. Such claims and omissions appear on the labeling and
                                                         18    packaging of the Products, which are sold at retail stores, point-of-purchase displays,
                                                         19    as well as ChapStick’s official website.
                                                         20             53. Defendants’ labeling and advertising of the Products led and continue to
                                                         21    lead reasonable consumers, including Plaintiff, to believe that the Products are natural
                                                         22    and/or made with “100% Naturally Sourced Ingredients.”
                                                         23             54. Defendants do not have any reasonable basis for the Products’ Natural
                                                         24    Representations because the Products contain ingredients that are non-natural,
                                                         25    synthetic, and/or artificial. Defendants knew and know that the Products are not
                                                         26    natural, yet Defendants intentionally advertise and market the Products to cause
                                                         27    reasonable consumers to believe that the Products are natural.
                                                         28             55. Defendants’ conduct, as alleged herein, constitutes unfair, unlawful, and
                                                                                                                  26
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                                                          1    fraudulent business practices pursuant to California Business & Professions Code
                                                          2    sections 17200, et seq. (the “UCL”). The UCL provides, in pertinent part: “Unfair
                                                          3    competition shall mean and include unlawful, unfair or fraudulent business practices
                                                          4    and unfair, deceptive, untrue or misleading advertising[.]”
                                                          5             56. In addition, Defendants’ use of various forms of media to advertise, call
                                                          6    attention to, or give publicity to the sale of goods or merchandise that are not as
                                                          7    represented constitutes unfair competition, unfair, deceptive, untrue or misleading
                                                          8    advertising, and an unlawful business practice within the meaning of Business and
                                                          9    Professions Code sections 17200 and 17531, which advertisements have deceived and
                                                         10    are likely to deceive the consuming public, in violation of Business and Professions
                                                         11    Code Section 17200.
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                                                         12             57. Defendants failed to avail themselves of reasonably available, lawful
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                                                         13    alternatives to further its legitimate business interests.
                                                         14             58. All of the conduct alleged herein occurred and continues to occur in
                                                         15    Defendants’ business. Defendants’ wrongful conduct is part of a pattern, practice
                                                         16    and/or generalized course of conduct, which will continue on a daily basis until
                                                         17    Defendants voluntarily alter their conduct or they are otherwise ordered to do so.
                                                         18             59. Pursuant to Business and Professions Code sections 17203 and 17535,
                                                         19    Plaintiff and the members of the California Subclass seek an order of this Court
                                                         20    enjoining Defendants from continuing to engage, use, or employ their practices of
                                                         21    labeling and advertising the sale and use of the Products. Likewise, Plaintiff and the
                                                         22    members of the California Subclass seek an order requiring Defendants to disclose
                                                         23    such misrepresentations, and to preclude Defendants’ failure to disclose the existence
                                                         24    and significance of said misrepresentations.
                                                         25             60. Plaintiff and the California Subclass have suffered injury in fact and have
                                                         26    lost money or property as a result of and in reliance upon Defendants’ false
                                                         27    representations.
                                                         28             61. Plaintiff and the California Subclass would not have purchased the
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                                                          1    Products but for the Natural Representations.
                                                          2             62. The UCL prohibits unfair competition and provides, in pertinent part, that
                                                          3    “unfair competition shall mean and include unlawful, unfair or fraudulent business
                                                          4    practices and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof.
                                                          5    Code § 17200.
                                                          6             63. Defendants’ unfair, fraudulent, and unlawful conduct described herein
                                                          7    constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                          8    punitive damages as permitted by law. Defendants’ misconduct is malicious as
                                                          9    Defendants acted with the intent to cause Plaintiff and a nation of consumers to pay
                                                         10    for Products that they were not, in fact, receiving.              Defendants willfully and
                                                         11    knowingly disregarded the rights of Plaintiff and a nation of consumers as Defendants
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                                                         12    were, at all times, aware of the probable dangerous consequences of their conduct and
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                                                         13    deliberately failed to avoid misleading consumers, including Plaintiff. Defendants’
                                                         14    misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                         15    and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                         16    would despise such corporate misconduct. Said misconduct subjected Plaintiff and a
                                                         17    nation of consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                         18    Defendants’ misconduct is fraudulent as Defendants, at all relevant times,
                                                         19    intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                         20    Plaintiffs and a nation of consumers. The wrongful conduct constituting malice,
                                                         21    oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                         22    ratified by officers, directors, and/or managing agents of Defendants.
                                                         23                                              A. “Unfair” Prong
                                                         24             64. Under California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                                                         25    Section 17200, et seq., a challenged activity is “unfair” when “any injury it causes
                                                         26    outweighs any benefits provided to consumers and the injury is one that the
                                                         27    consumers themselves could not reasonably avoid.” Camacho v. Auto Club of
                                                         28    Southern California, 142 Cal.App.4th 1394, 1403 (2006).
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                                                          1             65. Defendants’                action    of        labeling     the    Products as      natural
                                                          2    when they contain ingredients that are non-natural, synthetic, and/or artificial does
                                                          3    not confer any benefit to consumers.
                                                          4             66. Defendants’ action of labeling the Products as                                natural when
                                                          5    they contain ingredients that are non-natural, synthetic, and/or artificial causes
                                                          6    injuries to consumers, who do not receive products commensurate with their
                                                          7    reasonable expectations.
                                                          8             67. Defendants’                action   of    labeling    the    Products as       natural when
                                                          9    they contain ingredients that are non-natural, synthetic, and/or artificial causes
                                                         10    injuries      to     consumers,          who     end   up      overpaying      for   the    Products and
                                                         11    receiving Products of lesser standards than what they reasonably expected to receive.
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                                                         12             68. Consumers cannot avoid any of the injuries caused by Defendants’
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                                                         13    deceptive labeling and/or advertising of the Products.
                                                         14             69. Accordingly, the injuries caused by Defendants’ deceptive labeling
                                                         15    and/or advertising outweigh any benefits.
                                                         16             70. Some courts conduct a balancing test to decide if a challenged activity
                                                         17    amounts to unfair conduct under California Business and Professions Code Section
                                                         18    17200. They “weigh the utility of the defendant’s conduct against the gravity of the
                                                         19    harm to the alleged victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169
                                                         20    (9th Cir. 2012).
                                                         21             71. Here, Defendants’ conduct of labeling the Products with the Natural
                                                         22    Representations when the Products contain ingredients that are non-natural,
                                                         23    synthetic, and/or artificial has no utility and financially harms purchasers. Thus, the
                                                         24    utility of Defendants conduct is vastly outweighed by the gravity of harm.
                                                         25             72. Some courts require that “unfairness must be tethered to some legislative
                                                         26    declared policy or proof of some actual or threatened impact on competition.” Lozano
                                                         27    v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).
                                                         28             73. Defendants labeling and advertising of the Products, as alleged herein, is
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                                                          1    false, deceptive, misleading, and unreasonable, and constitutes unfair conduct.
                                                          2             74. Defendants knew or should have known of their unfair conduct.
                                                          3             75. As alleged in the preceding paragraphs, the misrepresentations by
                                                          4    Defendants, detailed above, constitute an unfair business practice within the meaning
                                                          5    of California Business and Professions Code Section 17200.
                                                          6             76. There existed reasonably available alternatives to further Defendants
                                                          7    legitimate business interests, other than the conduct described herein. Defendants
                                                          8    could have refrained from labeling the Products with the Natural Representations.
                                                          9             77. All of the conduct alleged herein occurs and continues to occur in
                                                         10    Defendants’ business. Defendants’ wrongful conduct is part of a pattern or
                                                         11    generalized course of conduct.
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                                                         12             78. Pursuant to Business and Professions Code Sections 17203, Plaintiff and
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                                                         13    the California Subclass seek an order of this Court enjoining Defendants from
                                                         14    continuing to engage, use, or employ their practices of labeling the Products with the
                                                         15    Natural Representations.
                                                         16             79. Plaintiff and the California Subclass have suffered injury in fact and have
                                                         17    lost money as a result of Defendants’ unfair conduct. Plaintiff and the California
                                                         18    Subclass paid an unwarranted premium for these Products. Specifically, Plaintiff and
                                                         19    the California Subclass paid for Products that contained ingredients that are non-
                                                         20    natural, synthetic, and/or artificial. Plaintiff and the California Subclass would not
                                                         21    have purchased the Products, or would have paid substantially less for the Products,
                                                         22    if they had known that the Products’ advertising and labeling were deceptive.
                                                         23    Accordingly, Plaintiff seeks damages, restitution, and/or disgorgement of ill-gotten
                                                         24    gains pursuant to the UCL.
                                                         25                                            B.   “Fraudulent” Prong
                                                         26             80. California Business and Professions Code sections 17200, et seq.,
                                                         27    considers conduct fraudulent (and prohibits said conduct) if it is likely to deceive
                                                         28    members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254, 1267
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                                                          1    (1992).
                                                          2             81. Defendants’                conduct   of labeling   the Products as     natural   when
                                                          3    they contain ingredients that are non-natural, synthetic, and/or artificial is likely to
                                                          4    deceive members of the public.
                                                          5             82. Defendants’ labeling and advertising of the Products, as alleged herein, is
                                                          6    false, deceptive, misleading, and unreasonable, and constitutes fraudulent conduct.
                                                          7             83. Defendants knew or should have known of their fraudulent conduct.
                                                          8             84. As alleged herein, the misrepresentations by Defendants constitute a
                                                          9    fraudulent business practice in violation of California Business & Professions Code
                                                         10    section 17200.
                                                         11             85. Defendants had reasonably available alternatives to further their
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                                                         12    legitimate business interests, other than the conduct described herein. Defendants
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                                                         13    could have refrained from labeling the Products with the Natural Representations.
                                                         14             86. All of the conduct alleged herein occurs and continues to occur in
                                                         15    Defendants’ business. Defendants’ wrongful conduct is part of a pattern or
                                                         16    generalized course of conduct.
                                                         17             87. Pursuant to Business and Professions Code section 17203, Plaintiff and
                                                         18    the California Subclass seek an order of this Court enjoining Defendants from
                                                         19    continuing to engage, use, or employ their practice of labeling the Products with the
                                                         20    Natural Representations.
                                                         21             88. Plaintiff and the California Subclass have suffered injury in fact and have
                                                         22    lost money as a result of Defendants’ fraudulent conduct. Plaintiff paid an
                                                         23    unwarranted premium for the Products. Specifically, Plaintiff and the California
                                                         24    Subclass          paid        for        products that they believed were natural     when,     in
                                                         25    fact, they contained non-natural, synthetic, and/or artificial ingredients. Plaintiff and
                                                         26    the California Subclass would not have purchased the Products if they had known
                                                         27    that they were not natural. Accordingly, Plaintiff seeks damages, restitution, and/or
                                                         28    disgorgement of ill-gotten gains pursuant to the UCL.
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                                                          1                                            C.   “Unlawful” Prong
                                                          2             89. California Business and Professions Code sections 17200, et seq.,
                                                          3    identifies violations of other laws as “unlawful practices that the unfair competition
                                                          4    law makes independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F.
                                                          5    Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                          6             90. Here, Defendants’ labeling and advertising of the Products, as alleged
                                                          7    herein, violates California Civil Code Section 1750, et seq. and California Business
                                                          8    and Professions Code sections 17500, et seq.
                                                          9             91. Defendants’ packaging, labeling, and advertising of the Products, as
                                                         10    alleged herein, are false, deceptive, misleading, and unreasonable, and constitute
                                                         11    unlawful conduct.
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                                                         12             92. Defendants knew or should have known of their unlawful conduct.
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                                                         13             93. As alleged herein, the misrepresentations by Defendants constitute an
                                                         14    unlawful business practice within the meaning of California Business and Professions
                                                         15    Code section 17200.
                                                         16             94. Additionally, Defendants’ misrepresentations of material facts, as set
                                                         17    forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, 1711,
                                                         18    and 1770, as well as the common law.
                                                         19             95. Defendants’ conduct in making the representations described herein
                                                         20    constitutes a knowing failure to adopt policies in accordance with and/or adherence
                                                         21    to applicable laws, as set forth herein, all of which are binding upon and burdensome
                                                         22    to their competitors. This conduct engenders an unfair competitive advantage for
                                                         23    Defendants, thereby constituting an unfair, fraudulent and/or unlawful business
                                                         24    practice under California Business & Professions Code sections 17200-17208.
                                                         25             96. There were reasonably available alternatives to further Defendants’
                                                         26    legitimate business interests other than the conduct described herein. Defendants
                                                         27    could have refrained from omitting that the Products contained ingredients that are
                                                         28    non-natural, synthetic, and/or artificial.
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                                                          1             97. All of the conduct alleged herein occurred and continues to occur in
                                                          2    Defendants’ business. Defendants’ wrongful conduct is part of a pattern or
                                                          3    generalized course of conduct.
                                                          4             98. Pursuant to Business and Professions Code section 17203, Plaintiff and
                                                          5    the California Subclass seek an order of this Court enjoining Defendants from
                                                          6    continuing to engage, use, or employ their practice of false and deceptive labeling and
                                                          7    advertising of the Products.
                                                          8             99. Plaintiff and the California Subclass have suffered injury in fact and have
                                                          9    lost money as a result of Defendants’ unlawful conduct. Plaintiff and the California
                                                         10    Subclass paid an unwarranted premium for the Products. Plaintiff and the California
                                                         11    Subclass would not have purchased the Products if they had known that Defendants
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                                                         12    purposely              deceived          consumers        into    believing   that    the
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                                                         13    Products are natural, thus creating the false impression that the Products do not
                                                         14    contain non-natural, synthetic, and/or artificial ingredients. Products if they had
                                                         15    known that they were not natural. Accordingly, Plaintiff seeks damages, restitution,
                                                         16    and/or disgorgement of ill-gotten gains pursuant to the UCL.
                                                         17                                                COUNT TWO
                                                         18                            Violation of the False Advertising Law (“FAL”)
                                                         19                    (California Business & Professions Code §§ 17500, et seq.)
                                                         20                                    (On Behalf of the California Subclass)
                                                         21             100. Plaintiff re-alleges and incorporates by reference all allegations contained
                                                         22    in the complaint, as though fully set forth herein.
                                                         23             101. Plaintiff brings this claim individually and on behalf of the California
                                                         24    Subclass who purchased the Products within the applicable statute of limitations.
                                                         25             102. California Business & Professions Code section 17500 prohibits “unfair,
                                                         26    deceptive, untrue or misleading advertising[.]”
                                                         27             103. Defendants violated section 17500 when they represented, through their
                                                         28    false and misleading advertising and other express representations, that Defendants’
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                                                          1    Products possessed characteristics and value that they did not actually have.
                                                          2             104. Defendants’ deceptive practices were specifically designed to induce
                                                          3    reasonable consumers like Plaintiff to purchase the Products. Defendants’ uniform,
                                                          4    material representations and omissions regarding the Products were likely to deceive,
                                                          5    and Defendants knew or should have known that their uniform representations and
                                                          6    omissions were untrue and misleading. Plaintiff purchased the Products in reliance
                                                          7    on the representations made by Defendants, as alleged herein.
                                                          8             105. Plaintiff and members of the California Subclass have been directly and
                                                          9    proximately injured by Defendants’ conduct in ways including, but not limited to, the
                                                         10    monies paid to Defendants for the Products that lacked the characteristics advertised,
                                                         11    interest lost on those monies, and consumers’ unwitting support of a business
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                                                         12    enterprise that promotes deception and undue greed to the detriment of consumers,
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                                                         13    such as Plaintiff and the California Subclass members.
                                                         14             106. The above acts of Defendants, in disseminating materially misleading and
                                                         15    deceptive representations and statements throughout California to consumers,
                                                         16    including Plaintiff and members of the California Subclass, were and are likely to
                                                         17    deceive reasonable consumers in violation of section 17500.
                                                         18             107. In making and disseminating the statements alleged herein, Defendants
                                                         19    knew or should have known that the statements were untrue or misleading, and acted
                                                         20    in violation of section 17500.
                                                         21             108. Defendants continue to engage in unlawful, unfair and deceptive practices
                                                         22    in violation of section17500.
                                                         23             109. As a direct and proximate result of Defendants’ unlawful conduct in
                                                         24    violation of section 17500, Plaintiff and members of the California Subclass, pursuant
                                                         25    to section 17535, are entitled to an order of this Court enjoining such future wrongful
                                                         26    conduct on the part of Defendants, and requiring Defendants to disclose the true
                                                         27    nature of their misrepresentations. Plaintiff has no adequate remedy at law. Without
                                                         28    equitable relief, Defendants’ unfair, deceptive, untrue, and misleading practices will
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                                                          1    continue to harm Plaintiff and the Class.
                                                          2             110. As a direct and proximate result of Defendants’ unlawful conduct in
                                                          3    violation of section 17500, Plaintiff and members of the California Subclass were
                                                          4    harmed and suffered financial losses in the dollar amount to be proven at the time of
                                                          5    trial that Plaintiff and the California Subclass members paid for the purported natural
                                                          6    attribute of the Products up to and including the full purchase price of the Products.
                                                          7    Plaintiff seeks an award under the FAL of damages, restitution, and/or disgorgement
                                                          8    of this dollar amount for Plaintiff and the California Subclass members’ purchase of
                                                          9    the Products.
                                                         10             111. Defendants’ unfair, fraudulent, and unlawful conduct described herein
                                                         11    constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
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                                                         12    punitive damages as permitted by law. Defendants’ misconduct is malicious as
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                                                         13    Defendants acted with the intent to cause Plaintiff and a nation of consumers to pay
                                                         14    for Products that they were not, in fact, receiving.              Defendants willfully and
                                                         15    knowingly disregarded the rights of Plaintiff and a nation of consumers as Defendants
                                                         16    were, at all times, aware of the probable dangerous consequences of their conduct and
                                                         17    deliberately failed to avoid misleading consumers, including Plaintiff. Defendants’
                                                         18    misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                         19    and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                         20    would despise such corporate misconduct. Said misconduct subjected Plaintiff and a
                                                         21    nation of consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                         22    Defendants’ misconduct is fraudulent as Defendants, at all relevant times,
                                                         23    intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                         24    Plaintiffs and a nation of consumers. The wrongful conduct constituting malice,
                                                         25    oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                         26    ratified by officers, directors, and/or managing agents of Defendants.
                                                         27    ///
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                                                          1                                               COUNT THREE
                                                          2                   Violation of the Consumers Legal Remedies Act (“CLRA”)
                                                          3                                   (California Civil Code §§ 1750, et seq.)
                                                          4                                    (On Behalf of the California Subclass)
                                                          5             112. Plaintiff re-alleges and incorporates by reference all allegations contained
                                                          6    in the complaint, as though fully set forth herein.
                                                          7             113. Plaintiff brings this claim individually and on behalf of the California
                                                          8    Subclass who purchased the Products within the applicable statute of limitations.
                                                          9             114. Plaintiff brings this action pursuant to California’s Consumers Legal
                                                         10    Remedies Act (“CLRA”), codified at Cal. Civ. Code §§ 1750, et seq.
                                                         11             115. The CLRA provides that “unfair methods of competition and unfair or
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                                                         12    deceptive acts or practices undertaken by any person in a transaction intended to result
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                                                         13    or which results in the sale or lease of goods or services to any consumer are
                                                         14    unlawful.”
                                                         15             116. The Products are “goods,” as defined by the CLRA in California Civil
                                                         16    Code §1761(a).
                                                         17             117. Defendants are a “person,” as defined by the CLRA in California Civil
                                                         18    Code §1761(c).
                                                         19             118. Plaintiff and members of the California Subclass are “consumers,” as
                                                         20    defined by the CLRA in California Civil Code §1761(d).
                                                         21             119. Purchase of the Products by Plaintiff and members of the California
                                                         22    Subclass are “transactions,” as defined by the CLRA in California Civil Code
                                                         23    §1761(e).
                                                         24             120. Defendants violated Section 1770(a)(5) by representing that the Products
                                                         25    have “characteristics, . . . uses [or] benefits . . . which [they] do not have” in that the
                                                         26    Products are falsely labeled and advertised as being natural. Defendants knew that
                                                         27    consumers will often pay more for products with this attribute and have unfairly
                                                         28    profited from their false and misleading claims.
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                                                          1             121. Similarly, Defendants violated section 1770(a)(7) by representing that the
                                                          2    Products “are of a particular standard, quality, or grade . . . if they are of another” by
                                                          3    falsely and deceptively labeling and advertising the Products as being natural.
                                                          4             122. In addition, Defendants violated section 1770(a)(9) by advertising the
                                                          5    Products “with intent not to sell them as advertised” in that the Products are falsely
                                                          6    labeled and advertised as being natural.
                                                          7             123. Defendants’ uniform and material representations and omissions
                                                          8    regarding the Products were likely to deceive, and Defendants knew or should have
                                                          9    known that their representations and omissions were untrue and misleading.
                                                         10             124. Plaintiff and members of the California Subclass could not have
                                                         11    reasonably avoided such injury. Plaintiff and members of the California Subclass
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                                                         12    were unaware of the existence of the facts that Defendants suppressed and failed to
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                                                         13    disclose, and Plaintiff and members of the California Subclass would not have
                                                         14    purchased the Products and/or would have purchased them on different terms had
                                                         15    they known the truth.
                                                         16             125. Plaintiff and members of the California Subclass have been directly and
                                                         17    proximately injured by Defendants’ conduct. Such injury includes, but is not limited
                                                         18    to, the purchase price of the Products and/or the portion of the price paid for the
                                                         19    purported natural attribute of the Products.
                                                         20             126. Given that Defendants conduct violated section 1770(a), Plaintiff and
                                                         21    members of the California Subclass are entitled to seek and seek injunctive relief to
                                                         22    put an end to Defendants’ violations of the CLRA.
                                                         23             127. Moreover, Defendants’ conduct is malicious, fraudulent, and wanton in
                                                         24    that Defendants intentionally misled and withheld material information from
                                                         25    consumers to increase the sale of the Products.
                                                         26             128. Concurrent with the filing of this Complaint, pursuant to California Civil
                                                         27    Code section 1782, Plaintiff, on Plaintiff’s behalf and on behalf of members of the
                                                         28    Class, notified Defendants of their violations of the Consumers Legal Remedies Act.
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                                                          1    At the appropriate time, Plaintiff will amend the operative complaint to seek damages
                                                          2    pursuant to the CLRA, in addition to equitable and injunctive relief, and request that
                                                          3    this Court enter such orders or judgments as may be necessary to restore to any person
                                                          4    in interest any money that may have been acquired in violation of the CLRA, and for
                                                          5    such other relief as is provided under California Civil Code section 1780.
                                                          6             129. Plaintiff further requests that the Court enjoin Defendants from
                                                          7    continuing to employ the unlawful methods, acts, and practices alleged herein
                                                          8    pursuant to section 1780(a)(2), and otherwise require Defendants to take corrective
                                                          9    action necessary to dispel the public misperception engendered, fostered, and
                                                         10    facilitated through Defendants’ False Advertising Claims.
                                                         11                                                 COUNT FOUR
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                                                         12                                            Breach of Express Warranty
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                                                         13                   (On Behalf of the Nationwide Class and California Subclass)
                                                         14             130. Plaintiff re-alleges and incorporates by reference all allegations contained
                                                         15    in the complaint, as though fully set forth herein.
                                                         16             131. Plaintiff brings this claim individually and on behalf of the Nationwide
                                                         17    Class and California Subclass (the Class) who purchased the Products within the
                                                         18    applicable statute of limitations.
                                                         19             132. Defendants made promises and affirmations of fact on the Products’
                                                         20    packaging and labeling, and through their marketing and advertising, as described
                                                         21    herein. This labeling and advertising constitute express warranties and became part
                                                         22    of the basis of the bargain between Plaintiff and members of the Class, and
                                                         23    Defendants.
                                                         24             133. Defendants purport, through the Products’ labeling and advertising, to
                                                         25    create express warranties that the Products are natural.
                                                         26             134. Despite Defendants’ express warranties about the nature of the Products,
                                                         27    the Products are not natural, and the Products are, therefore, not what Defendants
                                                         28    represented them to be.
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                                                          1             135. Accordingly, Defendants breached express warranties about the Products
                                                          2    and their qualities because the Products do not conform to Defendants’ affirmations
                                                          3    and promises.
                                                          4             136. As a direct and proximate result of Defendants’ breach of express
                                                          5    warranty, Plaintiff and members of the Class were harmed in the amount of the
                                                          6    purchase price they paid for the Products. Further, Plaintiff and members of the Class
                                                          7    have suffered and continue to suffer economic losses and other damages including,
                                                          8    but not limited to, the amounts paid for the Products, and any interest that would have
                                                          9    accrued on those monies, in an amount to be proven at trial. Accordingly, Plaintiff
                                                         10    seeks a monetary award for breach of express warranty of damages, restitution, and/or
                                                         11    disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies,
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                                                         12    as well as injunctive relief to enjoin Defendants’ misconduct to prevent ongoing and
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                                                         13    future harm that will result.
                                                         14             137. Defendants’ unfair, fraudulent, and unlawful conduct described herein
                                                         15    constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                         16    punitive damages as permitted by law. Defendants’ misconduct is malicious as
                                                         17    Defendants acted with the intent to cause Plaintiff and a nation of consumers to pay
                                                         18    for Products that they were not, in fact, receiving.              Defendants willfully and
                                                         19    knowingly disregarded the rights of Plaintiff and a nation of consumers as Defendants
                                                         20    were, at all times, aware of the probable dangerous consequences of their conduct and
                                                         21    deliberately failed to avoid misleading consumers, including Plaintiff. Defendants’
                                                         22    misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                         23    and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                         24    would despise such corporate misconduct. Said misconduct subjected Plaintiff and a
                                                         25    nation of consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                         26    Defendants’ misconduct is fraudulent as Defendants, at all relevant times,
                                                         27    intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                         28    Plaintiffs and a nation of consumers. The wrongful conduct constituting malice,
                                                                                                                  39
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                                                          1    oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                          2    ratified by officers, directors, and/or managing agents of Defendants.
                                                          3                                                COUNT FIVE
                                                          4                                              Unjust Enrichment
                                                          5                   (On Behalf of the Nationwide Class and California Subclass)
                                                          6             138. Plaintiff re-alleges and incorporates by reference all allegations contained
                                                          7    in the complaint, as though fully set forth herein.
                                                          8             139. Plaintiff brings this claim individually and on behalf of the Nationwide
                                                          9    Class and California Subclass (the Class) who purchased the Products within the
                                                         10    applicable statute of limitations.
                                                         11             140. By purchasing the Products, Plaintiff and members of the Class conferred
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                                                         12    a benefit on Defendants in the form of the purchase price of the Products.
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                                                         13             141. Defendants had knowledge of such benefit.
                                                         14             142. Defendants appreciated the benefit because, were consumers not to
                                                         15    purchase the Products, Defendants would not generate revenue from the sales of the
                                                         16    Products.
                                                         17             143. Defendants’ acceptance and retention of the benefit is inequitable and
                                                         18    unjust because the benefit was obtained by Defendants’ fraudulent and misleading
                                                         19    representations and omissions.
                                                         20             144. Equity cannot in good conscience permit Defendants to be economically
                                                         21    enriched for such actions at the expense of Plaintiff and members of the Class.
                                                         22    Accordingly, Plaintiff seeks an award pursuant to this cause of action for unjust
                                                         23    enrichment of restitution and/or disgorgement of ill-gotten gains in the amount of the
                                                         24    purchase price for the Products, as well as injunctive relief to prevent ongoing and
                                                         25    future harm that will result from the ongoing False Advertising Claims.
                                                         26             145. Defendants’ unfair, fraudulent, and unlawful conduct described herein
                                                         27    constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                         28    punitive damages as permitted by law. Defendants’ misconduct is malicious as
                                                                                                                  40
                                                              Error! Unknown document property name.              40 COMPLAINT
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                                                          1    Defendants acted with the intent to cause Plaintiff and a nation of consumers to pay
                                                          2    for Products that they were not, in fact, receiving.              Defendants willfully and
                                                          3    knowingly disregarded the rights of Plaintiff and a nation of consumers as Defendants
                                                          4    were, at all times, aware of the probable dangerous consequences of their conduct and
                                                          5    deliberately failed to avoid misleading consumers, including Plaintiff. Defendants’
                                                          6    misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                          7    and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                          8    would despise such corporate misconduct. Said misconduct subjected Plaintiff and a
                                                          9    nation of consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                         10    Defendants’ misconduct is fraudulent as Defendants, at all relevant times,
                                                         11    intentionally misrepresented and/or concealed material facts with the intent to deceive
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                                                         12    Plaintiffs and a nation of consumers. The wrongful conduct constituting malice,
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                                                         13    oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                         14    ratified by officers, directors, and/or managing agents of Defendants.
                                                         15                                            PRAYER FOR RELIEF
                                                         16             WHEREFORE, Plaintiff, individually and on behalf of all others similarly
                                                         17    situated, prays for judgment against Defendants as follows:
                                                         18
                                                                           a. For an order certifying this action as a class action;
                                                         19
                                                                           b. For an order declaring that Defendants’ conduct violates the statutes and
                                                         20
                                                                              laws referenced herein;
                                                         21
                                                                           c. For an order requiring Defendants to immediately cease and desist from
                                                         22
                                                                              selling the unlawful Products in violation of law; enjoining Defendants
                                                         23                   from continuing to market, advertise, distribute, and sell the Products in
                                                                              the unlawful manner described herein; and ordering Defendants to engage
                                                         24
                                                                              in corrective action;
                                                         25
                                                                           d. For an order awarding restitution, monetary damages, and/or
                                                         26
                                                                              disgorgement of wrongful profits consistent with the law;
                                                         27
                                                                           e. For an order awarding pre-and post-judgment interest;
                                                         28

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                                                          1                f. For an order awarding attorneys’ fees and costs;

                                                          2                g. For an order awarding punitive damages; and
                                                          3
                                                                           h. For such other and further relief as the Court deems just and proper.
                                                          4

                                                          5                                            DEMAND FOR JURY TRIAL
                                                          6            Plaintiff hereby demands a trial by jury on all causes of action.
                                                          7

                                                          8     Dated: December 16, 2020
                                                          9                                                       Respectfully submitted,
                                                         10                                                       CLARKSON LAW FIRM
                                                         11                                                       By:
                          9255 Sunset Blvd., Suite 804




                                                         12                                                       /s/ Katherine A. Bruce
CLARKSON LAW FIRM, P.C.

                            Los Angeles, CA 90069




                                                                                                                       RYAN J. CLARKSON
                                                         13                                                            SHIREEN M. CLARKSON
                                                                                                                       KATHERINE A. BRUCE
                                                         14
                                                                                                                         Attorneys for Plaintiff
                                                         15

                                                         16                                                       MOON LAW APC
                                                         17                                                       By:
                                                         18                                                       /s/ Christopher D. Moon
                                                         19                                                            CHRISTOPHER D. MOON
                                                                                                                       KEVIN O. MOON
                                                         20
                                                                                                                         Attorneys for Plaintiff
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